                  Case 20-10343-LSS              Doc 1310        Filed 09/11/20        Page 1 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                  (Jointly Administered)
                              Debtors.
                                                                  Ref. Docket No. 1168

               ORDER (I) AUTHORIZING THE DEBTORS TO ASSUME CERTAIN
                UNEXPIRED LEASES OF NONRESIDENTIAL REAL PROPERTY
               PURSUANT TO SECTION 365 OF THE BANKRUPTCY CODE AND
                  (II) FIXING CURE AMOUNTS WITH RESPECT THERETO

             Upon the motion (the “Motion”)2 of the Debtors for entry of an order (this “Order”),

pursuant to section 365 of the Bankruptcy Code and Bankruptcy Rule 6006, (i) authorizing the

Debtors to assume the Assumed Leases, identified on Schedule 1 attached hereto, and (ii) fixing

the Cure Amounts; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334

and the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated February 29, 2012; and entry of this Order being a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2); and the Debtors’ having consented to the entry of a final order

by this Court under Article III of the United States Constitution; and venue of this proceeding and

the Motion in this District being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

having found that the Debtors’ notice of the Motion and opportunity for a hearing on the Motion

were appropriate under the circumstances and no other notice need be provided; and all objections

to the Motion, if any, having been withdrawn, resolved or overruled; and the relief requested in



1
 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    All capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Motion.
              Case 20-10343-LSS          Doc 1310      Filed 09/11/20   Page 2 of 3




the Motion being in the best interests of the Debtors’ estates, their creditors and other parties in

interest; and this Court having determined that the legal and factual bases set forth in the Motion

establish just cause for the relief granted herein; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

         1.    The relief requested in the Motion is GRANTED as set forth herein.

         2.    Pursuant to section 365 of the Bankruptcy Code, the Debtors are authorized to, and

hereby do, assume the Assumed Leases identified on Schedule 1 attached hereto.

         3.    The Debtors shall pay the respective Cure Amounts set forth on Schedule 1 to this

Order.

         4.    Upon entry of this Order, the non-debtor counterparties to the Assumed Leases shall

be deemed to have consented to the Cure Amounts set forth on Schedule 1, and the Debtors’

payment of the Cure Amounts and assumption of the Assumed Leases under this Order shall result

in the full and final release and satisfaction of any claims or defaults arising under any Assumed

Lease at any time before the date of the entry of this Order. All non-debtor counterparties to the

Assumed Leases are forever barred from raising or asserting against the Debtors or their estates

any default or breach under, or any claim or pecuniary loss arising under or related to, the Assumed

Leases that existed prior to the date of the entry of this Order.

         5.    The Debtors’ rights to later assign any of the Assumed Leases, in each case subject

to, and in accordance with, the requirements of section 365 of the Bankruptcy Code, are hereby

preserved and shall not be impaired by the entry of this Order.

         6.    The entry of this Order is without prejudice to the Debtors’ right to request further

extensions of time to assume or reject the Unexpired Leases consistent with section

365(d)(4)(B)(ii) of the Bankruptcy Code.




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              Case 20-10343-LSS            Doc 1310   Filed 09/11/20    Page 3 of 3




       7.      Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed or construed as: (a) an admission as to the

validity, priority or amount of any claim or lien against the Debtors; (b) a waiver or limitation of

the Debtors’ or any party in interest’s rights to subsequently dispute any claim or lien on any

grounds; (c) a promise or requirement to pay any prepetition claim; (d) an implication or admission

that any particular claim is of a type specified or defined in the Motion or this Order; or (e) a

waiver or limitation of the Debtors’ or any other party in interest’s rights under the Bankruptcy

Code or any other applicable law.

       8.      Notice of the Motion as provided therein shall be deemed good and sufficient and

the requirements of Bankruptcy Rule 6006(c) and such other Bankruptcy Rules as may be

applicable are satisfied by such notice.

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       10.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




                                                      LAURIE SELBER SILVERSTEIN
      Dated: September 11th, 2020                     UNITED STATES BANKRUPTCY JUDGE
      Wilmington, Delaware
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